Case 23-12825-MBK Doc 614-10 Filed 05/26/23 Entered 05/26/23 23:11:45     Desc
              Exhibit 9 to Declaration of Daniel J. Merrett Page 1 of 7



                                 EXHIBIT 9
Case 23-12825-MBK Doc 614-10 Filed 05/26/23 Entered 05/26/23 23:11:45     Desc
              Exhibit 9 to Declaration of Daniel J. Merrett Page 2 of 7




                   UNITED STATES BANKRUPTCY COURT
                        DISTRICT OF NEW JERSEY




   In re:                                     Chapter 11

   LTL MANAGEMENT LLC,                        Case No.: 21-30589 (MBK)

                     Debtor                   Judge: Michael B. Kaplan




                     Expert Report of Gregory K. Bell, Ph.D.

                                January 28, 2022




               CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER
Case 23-12825-MBK Doc 614-10 Filed 05/26/23 Entered 05/26/23 23:11:45                            Desc
               Exhibit 9 to Declaration of Daniel J. Merrett Page 3 of 7
   Expert Report of Gregory K. Bell, Ph.D.                      January 28, 2022


   IV.    CONTEXT FOR EVALUATING THE BURDEN OF THE TALC
          LITIGATION

   38.    The costs and risks associated with the Talc Litigation are substantial and appear
          to be growing. The Talc Litigation charges were identified in J&J’s 2020 10-K as
          a primary driver that caused the income before tax for the business segment
          containing Old JJCI (the global Consumer Health business) to drop from a
          $2.1 billion profit (14.8 percent of sales) in 2019 to a $1.1 billion loss
          (-7.6 percent of sales) in 2020.75 This section evaluates the existing and potential
          financial burden of the Talc Litigation for Old JJCI and compares that burden to
          the burden imposed by mass tort litigation on other companies.

          A.      Existing Talc Litigation Burden Faced by Old JJCI

   39.    To evaluate the existing burden of Talc Litigation, I consider the expenses
          (charges) and cashflows (payments) related to Talc Litigation recognized in the
          past, as shown on Exhibit K. The context for these amounts is provided by my
          review of the financial results of operations for Old JJCI from 2018 through the
          first three quarters of 2021, as shown on Exhibit L, and the associated balance
          sheets for Old JJCI, as shown on Exhibit M. I estimate the cashflows associated
          with Old JJCI operations from 2018 through the first three quarters of 2021, as
          shown on Exhibit N.

   40.    As shown on Exhibit K, charges (expenses) related to the Talc Litigation had
          become a substantial burden related to the business of Old JJCI. In total, from
          2018 through the first three quarters of 2021, Talc Litigation charges amounted to
          $6.4 billion, burdening the income associated with the business of Old JJCI with
          expenses that totaled $5.6 billion in 2020 and the first three quarters of 2021.
          Similarly, cash outflows related to Talc Litigation have increased over the years,
          totaling $4.0 billion from 2018 through the first three quarters of 2021, with
          $3.6 billion paid in 2020 and the first three quarters of 2021 alone.



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          J&J 2020 10-K, p. 28.
                                                                                       P a g e | 19
                                                      CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER
Case 23-12825-MBK Doc 614-10 Filed 05/26/23 Entered 05/26/23 23:11:45                          Desc
               Exhibit 9 to Declaration of Daniel J. Merrett Page 4 of 7
   Expert Report of Gregory K. Bell, Ph.D.                      January 28, 2022


   41.    In comparison, as shown on Exhibit L,

          (a)    Annual sales for Old JJCI range from $5.7 to $6.1 billion for 2018 through
                 2020 with sales of $4.8 billion through the first three quarters of 2021;

          (b)    Marketing expenses range from $1.1 to $1.4 billion for 2018 through 2020
                 with marketing expenses of $1.0 billion through the first three quarters of
                 2021; and

          (c)    Old JJCI profits before consideration of the Talc Litigation and taxes
                 range from $0.8 to $1.4 billion for 2018 through 2020 with profits before
                 consideration of the Talc Litigation and taxes of $1.4 billion through the
                 first three quarters of 2021.

   42.    Also in comparison, as shown on Exhibit N, I estimate that Old JJCI’s pre-tax
          cashflows from operations, net of capital expenditures and before consideration of
          the Talc Litigation payments, range from $0.9 to $2.0 billion for 2018 through
          2020, being $0.9 billion through the first three quarters of 2021.

   43.    Exhibit O places the burden of Talc Litigation in the context of relevant financial
          metrics for Old JJCI. Notably, for the seven quarters prior to the 2021 Corporate
          Restructuring:

          (a)    Charges related to the Talc Litigation were equal to 51 percent of Old JJCI
                 sales;

          (b)    Charges related to the Talc Litigation led to a pre-tax loss on the business
                 of Old JJCI that totaled $2.8 billion;

          (c)    Payments related to the Talc Litigation were equal to 33 percent of sales;
                 and




                                                                                   P a g e | 20
                                                     CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER
Case 23-12825-MBK Doc 614-10 Filed 05/26/23 Entered 05/26/23 23:11:45                                     Desc
               Exhibit 9 to Declaration of Daniel J. Merrett Page 5 of 7
   Expert Report of Gregory K. Bell, Ph.D.                      January 28, 2022


          (d)     Payments related to the Talc Litigation led to a cash drain that exceeded
                  all pre-tax operating cashflows for Old JJCI, net of capital expenditures,
                  by $0.7 billion.76

   44.    Thus, as shown on Exhibits L and N, the charges and payments associated with
          the Talc Litigation rendered the business of Old JJCI unprofitable and cashflow
          negative for the seven quarters preceding the 2021 Corporate Restructuring.
          Further, the exposure to Talc Litigation was going to worsen, as it was expected
          to continue for years into the future.

          B.      Potential Future Talc Litigation Burden Facing Old JJCI

   45.    In 2017, panelists at national asbestos conferences reportedly stated that the “talc
          litigation has the potential to be the next asbestos—a multi-billion-dollar litigation
          involving thousands of plaintiffs and defendants over decades.”77 Considering the
          increased case filings documented on Exhibit E, plaintiff lawyers’ contentions
          that they will continue to file cases for the next 40 to 60 years,78 the increased talc
          litigation advertising noted on Exhibit F, the potential indemnification exposure
          characterized on Exhibit G, the magnitude of external defense costs depicted on
          Exhibit H (notwithstanding the slowdown in trials during the COVID-19
          pandemic), and the magnitude and variability of Talc Litigation verdicts shown on
          Exhibit I, it is apparent that the costs associated with the Talc Litigation will
          increase in the future and could persist for decades.

   46.    Not only would one expect new claims to be filed—particularly given plaintiff
          lawyers’ characterization of the opportunity,79 the estimated $41 million in Talc
          Litigation advertising for 2020 through November 2021 (Exhibit F), and the more
          than 12,300 new claims filed in just the nine months leading up to the 2021
          Corporate Restructuring—Old JJCI was facing Talc Litigation costs associated

   76
          Exhibit N.
   77
          “Hot Topic: Talc Litigation Part 1,” KCIC, https://www.kcic.com/trending/feed/hot-topic-talc-
          litigation-part-1/.
   78
          See, for example, Geise, et al. Complaint, ¶¶ 37-44; Kim Declaration, ¶ 41.
   79
          See, for example, Geise, et al. Complaint, ¶¶ 37-44.
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                                                           CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER
Case 23-12825-MBK Doc 614-10 Filed 05/26/23 Entered 05/26/23 23:11:45                                     Desc
               Exhibit 9 to Declaration of Daniel J. Merrett Page 6 of 7
   Expert Report of Gregory K. Bell, Ph.D.                      January 28, 2022


          with the more than 38,000 ovarian cancer and mesothelioma cases that were
          pending as of the 2021 Corporate Restructuring (Exhibit E). In addition, there
          were at least the existing and possible future cases brought by state AGs and the
          indemnification issue associated with Imerys to consider with respect to
          budgeting for the potential impact of the Talc Litigation.

   47.    Further, I understand that Talc Litigation defense costs over the seven quarters
          prior to the 2021 Corporate Restructuring likely were lessened by the impact of
          the COVID-19 pandemic and mitigated by a consolidation of most ovarian cancer
          cases in the multi-district litigation (“MDL”). These cases eventually would
          undergo discovery, up to and including trials, either in the MDL or in their home
          jurisdictions upon remand. The costs associated with this discovery thus far have
          been substantially deferred in the MDL so are not reflected in the historical spend.
          As a result, one would expect a substantial increase in future Talc Litigation
          defense costs.

   48.    More problematic with respect to budgeting for Talc Litigation is the magnitude
          and variability of the Talc Litigation verdicts shown on Exhibit I. In addition to
          the $4.69 billion Ingham verdict, plaintiffs have won initial verdicts of
          $787.3 million (Barden, et al.), $417 million (Echeverria), $325 million (Olson),
          $117 million (Lanzo), $110.4 million (Slemp), $72 million (Fox), $70.08 million
          (Giannecchini), $55 million (Ristesund), $40.1 million (Cabibi), $29 million
          (Leavitt), $27.5 million (Johnson), $26.57 million (Prudencio), $25.75 million
          (Anderson), $12 million (Schmitz), and $9 million (Moure-Cabrera).80 A post-
          COVID-19, post-MDL resumption of trials in the Talc Litigation subjects Old
          JJCI to an increased possibility of large, random verdicts in the future. Such a
          resumption of trials also would increase pressure to settle claims in the future.

   49.    As discussed above, the Talc Litigation had rendered the business of Old JJCI
          unprofitable and cashflow negative for the seven quarters prior to the 2021


   80
          As noted on Exhibit I, certain of these verdicts have been reversed or reduced on appeal.
                                                                                                P a g e | 22
                                                            CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER
Case 23-12825-MBK Doc 614-10 Filed 05/26/23 Entered 05/26/23 23:11:45                                           Desc
               Exhibit 9 to Declaration of Daniel J. Merrett Page 7 of 7
   Expert Report of Gregory K. Bell, Ph.D.                      January 28, 2022


          Corporate Restructuring. Increasing activity in the Talc Litigation, potentially
          associated with increased costs, could worsen that situation and deprive the
          business of the cashflow needed to support the brands, maintain the capital
          equipment, and invest in other initiatives that may be required to compete in the
          marketplace. Notably, the variability in the Talc Litigation costs is potentially as
          problematic for the business as the magnitude of the Talc Litigation costs.
          Consider the range of jury verdicts noted above, from $9 million to $4.69 billion.
          A business such as Old JJCI would not be able to operate efficiently or effectively
          with the possibility of forthcoming Talc Litigation payments that could be another
          $4.69 billion verdict, which would represent 77 percent of 2020 sales (Exhibit L)
          and 233 percent 2020 pre-tax operating cashflow, net of capital expenditures
          (Exhibit N). One could not plan for significant effective and efficient marketing
          campaigns, R&D programs, capital equipment, or other investments without the
          expectation of cashflows necessary to support such initiatives.

          C.       Other mass torts

   50.    Other industries and products have faced mass tort litigations. In this subsection,
          I consider some examples of the financial burdens associated with other mass tort
          litigations in comparison to the financial burden sustained by Old JJCI related to
          the Talc Litigation. In particular, as shown on Exhibit O, I consider the relative
          financial burden associated with mass torts related to tobacco, opioids, silicone
          breast implants, asbestos, and contraceptive IUDs in comparison to the financial
          burden associated with the Talc Litigation for Old JJCI.81

                   1.       Tobacco

   51.    Tobacco and asbestos (discussed below) remain the two largest mass tort
          litigations to date.82 On November 23, 1998, Philip Morris Incorporated, R.J.

   81
          I understand that the Third Circuit has referenced Dow Corning Corporation (silicone breast
          implants), Johns-Manville Corporation (asbestos), and A.H. Robins Company (contraceptive
          IUDs) as examples of entities to file bankruptcy to resolve mass tort liability (Debtor’s Objection
          to Motions to Dismiss Chapter 11 Case, p. 3, 15, 18).
   82
          Rheingold, Paul, “The History of Mass Torts Litigation,” Mass Torts in the United States
          (Ed: Courtney E Ward-Reichard), 2020, p. 2.
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                                                             CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER
